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  1   (Counsel Listed on Signature Page)
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                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11    SPEAKWARE, INC.,                     Civil Action No.
 12                 Plaintiff,              8:18-cv-01293-DOC (DFMx)
           v.                               Lead case
 13
       MICROSOFT CORP.,                     MEMORANDUM OF POINTS
 14                Defendant.               AND AUTHORITIES IN
                                            SUPPORT OF DEFENDANTS’
 15                                         RENEWED MOTION TO STAY
 16                                         PENDING INTER PARTES
                                            REVIEW
 17
                                            Hon. Judge David O. Carter
 18                                         Date: June 24, 2019
 19                                         Time: 8:30 a.m.
                                            Courtroom: 9D
 20
                                            Civil Action No.
 21    SPEAKWARE, INC.,                     8:18-cv-01299-DOC (DFMx)
                    Plaintiff,
 22        v.
 23
       GOOGLE LLC,
 24                     Defendant.
 25
 26
 27
 28
                                                            MEMO. ISO DEFENDANTS’
                                                        MOTION TO STAY PENDING IPR
                                                            8:18-CV-01293-DOC(DFMx)
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  1    SPEAKWARE, INC.,                     Civil Action No.
                    Plaintiff,              8:18-cv-01300-DOC (DFMx)
  2        v.
  3
       SAMSUNG ELECS. CO., LTD. and
  4    SAMSUNG ELECS. AMERICA, INC.
                   Defendants.
  5
  6                                         Civil Action No.
       SPEAKWARE, INC.,                     8:18-cv-01302-DOC (DFMx)
  7                 Plaintiff,
           v.
  8
       APPLE INC.,
  9                     Defendant.
 10
                                            Civil Action No.
 11    SPEAKWARE, INC.,                     8:18-cv-01303-DOC (DFMx)
                    Plaintiff,
 12        v.
 13
       AMAZON.COM, INC.,
 14                Defendant.
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                                                            MEMO. ISO DEFENDANTS’
                                                        MOTION TO STAY PENDING IPR
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 25     138 S. Ct. 1348 (2018) .......................................................................................... 8
 26   SCA Hygiene Prods. Aktiebolag (“AB”) v. Tarzana Enters., LLC,
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  1   I.    INTRODUCTION
  2         The Court denied Defendants’ prior stay motion “particularly given that the
  3   PTAB ha[d] yet to decide whether to institute the IPR on claims 1–20 and 21–55
  4   within the 186 Patent.” Dkt. 55 at 5. The PTAB has now instituted Google’s two
  5   inter partes review (“IPR”) petitions, finding that Google “demonstrates a
  6   reasonable likelihood of prevailing” against all 55 claims of the ’186 Patent.
  7   Additionally, three other Defendants, Microsoft, Apple, and Amazon, filed IPR
  8   petitions presenting independent grounds of invalidity, and the remaining
  9   Defendant, Samsung, intends to request joinder in Google’s IPR proceedings. In
 10   light of these developments, the consolidated action should be stayed pending final
 11   resolution of the pending IPR petitions.
 12         All three relevant factors strongly support a stay. First, the litigation remains
 13   in its infancy. No claim construction briefing has occurred, fact discovery is in its
 14   early stages, no depositions have occurred, and expert discovery has not started.
 15   Institution decisions on all pending IPRs will occur by November 2019, and a final
 16   written decision on Google’s IPRs will issue by May 2020.
 17         Second, the IPR proceedings will simplify this litigation—if not eliminate the
 18   need for litigation entirely. The PTAB instituted Google’s two IPR petitions
 19   challenging all 55 claims of the ’186 Patent, and six other IPR petitions—filed by
 20   Defendants Microsoft, Apple, and Amazon and non-party Unified Patents—present
 21   independent grounds of invalidity for all claims. The institution decisions on
 22   Google’s IPRs and the strength of the other six IPRs demonstrate the high
 23   probability that the asserted claims will be invalidated. And to the extent any
 24   claims survive these eight IPR proceedings, the Court and the Parties will benefit
 25   from the arguments of the Parties and findings of the PTAB narrowing this case.
 26         Conversely, if the litigation is not stayed, the IPR proceedings could moot
 27   issues that the Court has already decided or require the Court and the Parties to
 28   revisit those issues. For example, the Court would hear claim construction and
                                                                    MEMO. ISO DEFENDANTS’
                                                 1              MOTION TO STAY PENDING IPR
                                                                    8:18-CV-01293-DOC(DFMx)
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  1   summary judgment arguments weeks before the deadline for final written decisions
  2   in Google’s instituted IPRs—decisions that could invalidate all claims of the ’186
  3   Patent and render moot all of the resources expended by the Court and the Parties.
  4   Even if any claims survived all the challenges presented in the IPRs, all of the final
  5   written decisions will be part of the file history of the ’186 Patent and may require
  6   reevaluation of any claim constructions and/or summary judgment rulings issued by
  7   this Court before those IPR decisions. Not staying this case would complicate the
  8   issues to be decided, requiring significant additional work by the Parties and the
  9   Court to address the impact of the IPRs.
 10         Third, SpeakWare will not be prejudiced by the requested stay. SpeakWare
 11   is a non-practicing entity and, thus, will not suffer any prejudice or tactical
 12   disadvantage from a brief delay of the litigation.
 13         To save the Court and the Parties needless effort and expense, Defendants
 14   respectfully request that the Court stay this action pending resolution of the IPRs
 15   challenging the ’186 Patent.
 16   II.   BACKGROUND
 17         The present litigation is a consolidation of five cases filed by SpeakWare on
 18   July 26, 2018, against Defendants Microsoft, Google, Samsung, Apple, and
 19   Amazon. Dkt. 29.
 20         On February 21, 2019, the Court denied without prejudice a motion to stay
 21   pending inter partes review filed by Google and joined by the remaining
 22   Defendants, particularly because Google’s IPRs had yet to be instituted. Dkt. 55
 23   at 5. Since the Court decided Google’s motion, Google’s IPRs have been instituted
 24   and five additional IPR petitions have been filed.
 25         Google’s Instituted IPR Petitions. On November 30, 2018, just four months
 26   after SpeakWare filed its Complaints and a little over a month after Google
 27   responded to the Complaint, Google filed two IPR petitions challenging all claims
 28   of the ’186 Patent. On May 14, 2019, the PTAB instituted both of Google’s IPR
                                                                     MEMO. ISO DEFENDANTS’
                                                 2               MOTION TO STAY PENDING IPR
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  1   petitions, finding that Google “demonstrates a reasonable likelihood of prevailing”
  2   against all 55 claims of the ’186 Patent. Exs. A and B 1 (Institution Decisions in
  3   IPR2019-00340 and IPR2019-00342). The following table summarizes the
  4   instituted petitions, deadlines, and prior art asserted.
  5                                Final
  6     IPR No.                   Written
          and     Filing         Decision       Claims
  7    Petitioner Date           Deadline 2    Challenged       Prior Art Asserted
  8   IPR2019- 11/30/18           5/14/20        1-20     U.S. 5,802,467 (“Salazar”)
      00340                                               U.S. 5,983,186 (“Miyazawa”)
  9
      (Google)                                            U.S. 6,012,027 (“Bossemeyer”)
 10                                                       U.S. 5,008,094 (“Oppendahl”)
                                                          U.S. 5,459,792 (“Reichel”)
 11
                                                          U.S. 6,425,086 (“Clark”)
 12                                                       U.S. 5,583,965 (“Douma”)
      IPR2019-        11/30/18     5/14/20       21-55    Salazar, Miyazawa,
 13
      00342                                               Bossemeyer, Oppendahl,
 14   (Google)                                            Reichel, Douma
 15          Pending IPR Petitions. In addition to the IPR petition filed by non-party
 16   Unified Patents that was pending when the Court considered the initial motion to
 17   stay, Defendants Microsoft, Apple, and Amazon have now also filed IPR petitions.
 18   Each of these petitions asserts independent grounds of invalidity, providing distinct
 19   bases demonstrating that the claims of the ’186 Patent are invalid. The PTAB will
 20   issue institution decisions on these petitions on a rolling basis in the next six
 21   months. The following table summarizes the pending petitions, deadlines, and prior
 22   art asserted.
 23
 24
 25
 26   1
        All exhibits referenced herein are attached to the Declaration of Bill Trac in
      Support of Defendants’ Renewed Motion To Stay, filed concurrently herewith.
 27   2
        The PTAB’s final written decisions are due no later than one year after institution.
 28   See 37 C.F.R. § 42.100(c); see also 35 U.S.C. § 316(a)(11).
                                                                      MEMO. ISO DEFENDANTS’
                                                  3               MOTION TO STAY PENDING IPR
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  1     IPR No.                Institution
  2       and     Filing        Decision     Claims
                                         3
       Petitioner Date         Deadline    Challenged          Prior Art Asserted
  3   IPR2019- 12/27/18          8/7/19    1-4, 7, 9-10, WO 94/03020 (“Bissonnette”)
  4   00495                                12, 14, 16- U.S. 6,591,239 (“McCall”)
      (Unified                             21, 23-26,    U.S. 5,774,841 (“Salazar”)
  5   Patents)                             28-31, 39,    Miyazawa
  6                                        41, 43
      IPR2019- 03/11/19          9/22/19   1-20          U.S. 6,119,088 (“Ciluffo”)
  7   00758                                              JP H10-319991 A (“Kubota”)
  8   (Microsoft)                                        U.S. 6,208,341 (“van Ee”)
                                                         Reichel, Miyazawa
  9   IPR2019- 03/11/19          9/22/19   21-55         Ciluffo, Kubota, van Ee,
 10   00792                                              Reichel, Miyazawa
      (Microsoft)
 11
      IPR2019- 04/03/19         10/17/19     1-20, 41-55   JP Pub. 2708566 (“Tetsuo”)
 12   00874                                                U.S. 5,684,924 (“Stanley”)
      (Apple)                                              U.S. 6,584,439 (“Geilhufe”)
 13
                                                           U.S. 6,535,854 (“Buchner”)
 14                                                        Bissonnette
      IPR2019-     04/03/19     10/17/19     21-40         U.S. 4,052,568 (“Jankowski”)
 15
      00875                                                Tetsuo, Stanley, Geilhufe,
 16   (Apple)                                              Bissonnette
 17   IPR2019-     04/19/19      11/9/19     1-39, 41-55   U.S. 5,771,064 (“Lett”)
      00999                                                U.S. 5,774,859 (“Houser”)
 18   (Amazon)                                             WO 94/03017 (“Fischer”)
 19                                                        Stanley

 20         Finally, Samsung intends to request joinder in Google’s already instituted
 21   IPRs no later than June 14, 2019.
 22         Currently pending before the Court is Google’s challenge to the patentability
 23   of the ’186 Patent under 35 U.S.C. § 101. On October 12, 2018, Google filed a
 24   motion to dismiss, arguing that the claims of the ’186 Patent recite unpatentable
 25   subject matter. SpeakWare, Inc. v. Google LLC, Case No. 8:18-cv-01299
 26   3
       The PTAB must issue its institution decision no later than three months after the
 27   Patent Owner files a Preliminary Response. PTAB Trial Practice Guide, 77 Fed.
      Reg. at 48,757. The dates listed assume that the Patent Owner files its Preliminary
 28   Response on the last possible day.
                                                                   MEMO. ISO DEFENDANTS’
                                               4               MOTION TO STAY PENDING IPR
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  1   (“SpeakWare v. Google”), Dkt. 22. On January 23, 2019, the Court referred
  2   Google’s motion to Judge Layn Phillips, acting as a Special Master. Dkt. 36. On
  3   March 11, 2019, Judge Phillips issued an order denying Google’s motion without
  4   prejudice, finding a disputed issue of fact. Dkt. 56-1. Google filed objections to
  5   Judge Phillips’ decision, with a hearing before this Court scheduled for June 3,
  6   2019. Dkt. 59.
  7           Pursuant to the Court’s January 15, 2019 Scheduling Order (Dkt. 31) and the
  8   Parties’ January 20, 2019 Joint Proposed Scheduling Order (Dkt. 32-1), opening
  9   claim construction briefs are due July 22, 2019, a claim construction and summary
 10   judgment hearing is set for April 27, 2020, and trial is set for July 14, 2020. Dkt.
 11   32-1.
 12   III.    LEGAL STANDARDS
 13           This Court considers three factors in determining whether to stay a case
 14   pending IPR: “(1) whether discovery is complete and whether a trial date has been
 15   set; (2) whether a stay will simplify the issues in question and trial of the case; and
 16   (3) whether a stay would unduly prejudice or present a clear tactical disadvantage to
 17   the nonmoving party.” Nichia Corp. v. Vizio, Inc., 2018 WL 2448098, at *1 (C.D.
 18   Cal. May 21, 2018) (citing Universal Elecs., Inc. v. Universal Remote Control, Inc.,
 19   943 F. Supp. 2d 1028, 1030–31 (C.D. Cal. 2013)). While the Court uses a three-
 20   factor test, “the totality of the circumstances governs.” Id. District courts have “the
 21   inherent authority to manage their dockets and courtrooms with a view toward the
 22   efficient and expedient resolution of cases.” Id. (quoting Dietz v. Bouldin, 136 S.
 23   Ct. 1885, 1892 (2006)); see Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1426–27 (Fed.
 24   Cir. 1988).
 25           Courts have identified several benefits from a stay pending review by the
 26   PTO, including: (1) allowing the PTO, with its particular expertise, to consider
 27   prior art and invalidity issues before they are presented to the Court; (2) alleviating
 28   discovery problems relating to invalidity issues; (3) encouraging settlement without
                                                                     MEMO. ISO DEFENDANTS’
                                                 5               MOTION TO STAY PENDING IPR
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  1   further use of the Court; (4) limiting the issues, defenses, and evidence at pretrial
  2   conferences and at trial; (5) reducing the costs and burdens for both the parties and
  3   the Court; and (6) avoiding the possibility of inconsistent results on the invalidity
  4   issues considered by the PTAB. See Mophie, Inc. v. uNu Elecs. Inc., 2014 WL
  5   6775768, at *4 (C.D. Cal. Dec. 1, 2014). “‘There is a liberal policy in favor of
  6   granting motions to stay proceedings pending the outcome’ of re-examination,
  7   especially in cases that are still in the initial stages of litigation and where there has
  8   been little or no discovery.” Nichia, 2018 WL 2448098, at *5 (quoting Universal
  9   Elecs., 943 F. Supp. 2d at 1031).
 10   IV.   ARGUMENT
 11         All three factors strongly favor an immediate stay of this litigation. This
 12   consolidated case is in the early stages—discovery has just begun, no depositions
 13   have been scheduled, and claim construction briefing has yet to commence.
 14   Google’s two instituted IPRs and potentially the additional six pending IPRs will
 15   simplify, if not eliminate, this litigation. And SpeakWare is a non-practicing entity
 16   that will not be prejudiced in its ability to recover any appropriate monetary
 17   damages, the sole remedy it seeks.
 18         A.     The Early Stage Of The Litigation Strongly Favors A Stay
 19         The first factor favors a stay because the SpeakWare litigation is still in its
 20   infancy. When analyzing this factor, this Court considers “whether discovery is
 21   complete and whether a trial date has been set.” Limestone Memory Sys. LLC v.
 22   Micron Tech., Inc., 2016 WL 3598109, at *2 (C.D. Cal. Jan. 12, 2016) (citing Aten
 23   Int’l Co. v. Emine Tech. Co., 2010 WL 1462110, at *6 (C.D. Cal. Apr. 12, 2010)).
 24   “The Court’s expenditure of resources is an important factor in evaluating the stage
 25   of the proceedings.” Lund Motion Prods., Inc. v. T-Max Hangzhou Tech. Co., No.
 26   SACV 17-01914-CJC-JPR (C.D. Cal. Jan. 2, 2019) (quoting Universal Elecs., 943
 27   F. Supp. 2d at 1031). Similarly, courts examine whether “there is more work ahead
 28
                                                                       MEMO. ISO DEFENDANTS’
                                                  6                MOTION TO STAY PENDING IPR
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  1   of the parties and the Court than behind the parties and the Court.” Limestone,
  2   2016 WL 3598109, at *3.
  3         While some work has been done since Google filed its initial motion to
  4   stay—infringement and invalidity contentions and further activity on Google’s
  5   motion to dismiss—far more work lies ahead. Fact discovery remains in its
  6   infancy, with the Parties still conferring on the first round of discovery that
  7   SpeakWare served in December 2018. Document collection and production is just
  8   beginning, and no depositions have taken place or been scheduled. No claim
  9   construction briefing has occurred. Expert discovery has not yet commenced, and
 10   no expert reports have been served. Summary judgment and Daubert motions also
 11   lie ahead. While a trial date has been set, that date is not until July 14, 2020, two
 12   months after the May 14, 2020 deadline for a final written decision in Google’s
 13   instituted IPRs. In short, the bulk of the work in this litigation has yet to be done,
 14   and a stay now would save the Court and the Parties considerable resources that
 15   will otherwise be expended on issues of fact and expert discovery, claim
 16   construction, and summary judgment. See Nichia, 2018 WL 2448098, at *2
 17   (granting a stay pending IPR where “significant judicial resources will likely be
 18   saved by a stay”).
 19         The stage of the litigation weighs heavily in favor of a stay.
 20         B.     The Pending IPRs Will Resolve Or Simplify The Issues For Trial
 21         There is a high likelihood that all claims of the ’186 Patent will be
 22   invalidated—potentially on multiple grounds—by the eight pending IPR
 23   proceedings, given the strength of the Institution Decisions in Google’s IPRs and of
 24   the independent invalidity arguments presented in the other IPRs. Even if some
 25   claims survive these IPRs, this litigation will be simplified and streamlined in view
 26   of statements made by SpeakWare and decisions issued by the PTAB.
 27         First, Google’s instituted IPR petitions alone are likely to resolve or simplify
 28   this litigation. The PTAB’s Institution Decisions explain that Google
                                                                     MEMO. ISO DEFENDANTS’
                                                 7               MOTION TO STAY PENDING IPR
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  1   “demonstrate[d] a reasonable likelihood of prevailing” on all 55 claims of the ’186
  2   Patent. Exs. A and B. The PTAB’s detailed decisions demonstrate the strength of
  3   Google’s petitions. In particular, since the Supreme Court’s decision in SAS
  4   Institute Inc. v. Iancu, 138 S. Ct. 1348, 1360 (2018), the PTAB must institute a
  5   petition if it finds that the petitioner is reasonably likely to prevail on only a single
  6   claim. But here, the PTAB did not end its analysis after finding that Google was
  7   reasonably likely to prevail on one claim in each petition. Instead, the PTAB
  8   performed a detailed analysis of every claim of the ’186 Patent, rejected
  9   SpeakWare’s arguments against institution, and found that Google’s petitions were
 10   reasonably likely to invalidate every single claim.
 11         Current PTO statistics show that, considering all final written decisions
 12   issued from completed IPRs, 81% of instituted IPRs resulted in the cancellation of
 13   at least some claims and 63% resulted in the cancellation of all claims. 4 Based on
 14   these statistics and considering only Google’s instituted IPRs, there is
 15   approximately a two-in-three chance of all claims of the ’186 Patent being
 16   invalidated and a four-in-five chance of some claims being invalidated.
 17         Second, the likelihood of invalidation is even higher in this case because six
 18   additional IPRs have been filed challenging the ’186 Patent. Microsoft’s IPRs
 19   present the combination of Ciluffo and Kubota. Exs. C and D at 2. Apple’s IPRs
 20   combine Tetsuo with Bissonnette. Exs. E and F at 4. Amazon’s IPR combines Lett
 21   with Houser (which Lett incorporates by reference). Ex. G at 11. And Unified
 22   Patents’ IPR combines Bissonnette and Miyazawa. Ex. H at 7. Each IPR provides
 23   distinct arguments for why the claims of the ’186 Patent are anticipated and
 24   rendered obvious by the prior art, further increasing the likelihood that some or all
 25   claims will be invalidated by the PTAB.
 26
 27
      4
       See Ex. I, Trial Statistics, IPR, PGR, CBM, April 2019, available at
      https://www.uspto.gov/sites/default/files/documents/trial_statistics_apr_2019.pdf,
 28   at 10.
                                                                       MEMO. ISO DEFENDANTS’
                                                  8                MOTION TO STAY PENDING IPR
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  1         Third, even if some of the ’186 Patent claims survive all eight IPRs, a stay
  2   will still simplify the case. For example, claims that are invalidated will not need to
  3   be litigated here. That would eliminate the need for the Court to construe terms in
  4   those claims, and for the parties to gather and produce evidence on the questions of
  5   noninfringement and invalidity. In addition, if the PTAB issues a final written
  6   decision affirming the patentability of any claims, the petitioner will be estopped
  7   from arguing to this Court that those claims are invalid based on any ground the
  8   petitioner “raised or reasonably could have raised” during the IPRs. See 35 U.S.C.
  9   § 315(e)(2). Since Defendants’ initial motion for stay was decided, each Defendant
 10   except Samsung has filed one or more IPR petition and will be bound by any
 11   resulting estoppel. And if the Court enters the requested stay, Samsung agrees to be
 12   bound by estoppel based on the outcome of Google’s IPR petitions to the same
 13   extent as Google. Moreover, Samsung intends to request joinder in Google’s
 14   already instituted IPRs. Thus, estoppel may attach to all Defendants at the
 15   conclusion of the IPR proceedings for any surviving claims.
 16         Fourth, to the extent any claims survive, the IPR proceedings will add
 17   valuable information to the record regarding the ’186 Patent, including with respect
 18   to claim construction. SpeakWare’s submissions to the PTAB affect the file history
 19   of the ’186 Patent and can narrow the scope of any claims that survive review. See,
 20   e.g., Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1362 (Fed. Cir. 2017)
 21   (“[S]tatements made by a patent owner during an IPR proceeding, whether before
 22   or after an institution decision, can be considered for claim construction and relied
 23   upon to support a finding of prosecution disclaimer.”); Krippelz v. Ford Motor Co.,
 24   667 F.3d 1261, 1266 (Fed. Cir. 2012) (“patentee’s statements during reexamination
 25   can be considered during claim construction, in keeping with the doctrine of
 26   prosecution disclaimer”). Thus, the file history of the ’186 Patent—and the scope
 27   of its claims—will remain in flux until completion of all IPRs. Further, statements
 28   made to the PTAB shed more light on the issues in this litigation, now that IPR
                                                                    MEMO. ISO DEFENDANTS’
                                                9               MOTION TO STAY PENDING IPR
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  1   proceedings apply the same Phillips claim construction standard used in federal
  2   court. 37 C.F.R. § 42.100(b) (amended Oct. 11, 2018). In addition, a stay
  3   guarantees that this Court will have the benefit of the PTAB’s expertise regarding
  4   prior art and invalidity issues. See SCA Hygiene Prods. Aktiebolag (“AB”) v.
  5   Tarzana Enters., LLC, 2017 WL 5952166, at *4 (C.D. Cal. Sept. 27, 2017).
  6         Without a stay, this Court will hear claim construction and summary
  7   judgment issues on April 27, 2020, just weeks before the May 14, 2020 deadline for
  8   final written decisions in Google’s instituted IPRs—decisions that could invalidate
  9   all claims of the ’186 Patent and render moot all of the resources expended by the
 10   Court and the Parties. Even if any claims survive all the challenges presented in the
 11   IPRs, all of the final written decisions will be part of the file history of the ’186
 12   Patent and may require reevaluation of any claim constructions and/or summary
 13   judgment rulings issued by this Court before those IPR decisions. Therefore, not
 14   only would a stay resolve or simplify the issues, but the inverse is also true—the
 15   lack of a stay will complicate the issues, requiring significant additional work by
 16   the Parties and the Court to address the impact of the IPRs. Accordingly, it makes
 17   sense to stay this consolidated action until all IPR proceedings are complete,
 18   ensuring that the entire intrinsic record of the ’186 Patent will be available to the
 19   Court and the Parties before considering these issues, to the extent the litigation is
 20   not mooted in its entirety.
 21         Because a stay pending completion of the IPRs would resolve or significantly
 22   simplify the issues for claim construction, summary judgment, and trial under any
 23   outcome of the proceedings, this factor weighs strongly in favor of a stay.
 24         C.     A Stay Will Not Unduly Prejudice Or Tactically Disadvantage
                   SpeakWare
 25
 26         The final factor also favors granting Defendants’ motion because a stay
 27   would not unduly prejudice or present a clear tactical disadvantage to SpeakWare.
 28   “Mere delay in the litigation does not establish undue prejudice.” Limestone, 2016
                                                                      MEMO. ISO DEFENDANTS’
                                                 10               MOTION TO STAY PENDING IPR
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  1   WL 3598109, at *5 (citing Research in Motion, Ltd. v. Visto Corp., 545 F. Supp. 2d
  2   1011, 1012 (N.D. Cal. 2008)); Skip Hop, Inc. v. Munchkin, Inc., 2016 WL 7042093,
  3   at *3 (C.D. Cal. Mar. 15, 2016) (same).
  4         SpeakWare’s “status as a non-practicing entity weighs in favor of a stay.”
  5   Core Optical Techs., LLC v. Fujitsu Network Commc’ns, Inc., 2016 WL 7507760,
  6   at *2 (C.D. Cal. Sept. 12, 2016). SpeakWare does not claim to practice the asserted
  7   patent or to design, make, or sell any products. See, e.g., Dkt. 1. To the contrary,
  8   SpeakWare admits that its sole source of revenue is license fees. Dkt. 51 at 12.
  9   SpeakWare only registered as a corporation on July 12, 2018, two weeks before
 10   filing complaints against each of the five Defendants. See Ex. J.
 11         Courts in this district have repeatedly held that there is no undue prejudice
 12   when the plaintiff is a non-practicing entity because “any damages [the plaintiff]
 13   may ultimately prove will likely be compensable” through a monetary award.
 14   Limestone, 2016 WL 3598109, at *5; Core Optical, 2016 WL 7507760, at *2 (no
 15   undue prejudice where plaintiff “can adequately be compensated with monetary
 16   damages for any infringement and will not lose sales or market shares as a result of
 17   a stay”); Black Hills Media, LLC v. Pioneer Elecs. (USA) Inc., 2014 WL 4638170,
 18   at *7 (C.D. Cal. May 8, 2014) (“Plaintiff is a patent licensing company and does
 19   not compete directly with Defendants, so monetary damages will sufficiently
 20   compensate Plaintiff for any delay caused by a stay.”). “[T]he general prejudice of
 21   having to wait for resolution is not a persuasive reason to deny a motion for stay.”
 22   Game & Tech. Co. v. Riot Games, Inc., 2016 WL 9114147, at *4 (C.D. Cal. Nov. 4,
 23   2016).
 24         Indeed, SpeakWare itself has shown no urgency in pursuing its patent
 25   infringement claims, suggesting that it will not be unduly prejudiced by waiting for
 26   the outcome of the IPR proceedings. SpeakWare has not argued that it is suffering
 27   or will suffer from any irreparable harm, has made no attempt to seek a preliminary
 28   injunction, and does not seek permanent injunctive relief in any of its Complaints.
                                                                    MEMO. ISO DEFENDANTS’
                                                11              MOTION TO STAY PENDING IPR
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  1   See Dkt. 1 at 15; SpeakWare v. Google, Dkt. 1 at 15; SpeakWare v. Samsung, Dkt.
  2   1 at 15; SpeakWare v. Apple, Dkt. 1 at 20; SpeakWare v. Amazon, Dkt. 1 at 16.
  3   And the ’186 Patent expires on December 22, 2019, ensuring that monetary
  4   damages for past infringement will be the only form of relief available.
  5         Moreover, SpeakWare and its predecessors-in-interest failed to assert the
  6   ’186 Patent in a timely manner. Many of the accused products in this litigation are
  7   long-standing consumer electronics, well known to the general public. The accused
  8   Amazon Echo, for example, was released around November 2014, more than four
  9   years ago. 5 The accused Apple iPhone 6S, which includes the Siri virtual assistant,
 10   was released around September 2015. 6 Yet neither SpeakWare nor its
 11   predecessors-in-interest attempted to contact any of the Defendants regarding
 12   licensing, instead waiting until July 2018 to file suit. Such delay confirms that
 13   resolution of SpeakWare’s claims is not genuinely urgent. “Seeing as how
 14   [plaintiff] delayed in bringing this action in the first place, its arguments of
 15   prejudice are unpersuasive.” SCA Hygiene, 2017 WL 5952166, at *5 (three-year
 16   delay between patent issuance and filing of suit undercut plaintiff’s claims of undue
 17   prejudice). SpeakWare cannot show any undue prejudice caused by waiting for the
 18   PTAB’s final written decisions in Google’s IPRs, due in less than one year, or in
 19   any of the remaining IPRs that are instituted, expected in less than 18 months. If
 20   any of the remaining IPRs are not instituted, they will be resolved within six
 21   months—before Google’s IPRs—so they will not add to the length of the stay.
 22         Finally, Defendants promptly filed IPR petitions and pursued a motion to
 23   stay. Each pending IPR petition was filed well before the one-year statutory
 24   deadline and no more than a month after SpeakWare served its infringement
 25   5
        See Computerworld, “Why Amazon Echo is the future of every home” (Nov. 8,
      2014), available at https://www.computerworld.com/article/2844509/why-amazon-
 26   echo-is-the-future-of-every-home.html.
 27
      6
        See “Apple Introduces iPhone 6s & iPhone 6s Plus,” available at
      https://www.apple.com/newsroom/2015/09/09Apple-Introduces-iPhone-6s-iPhone-
 28   6s-Plus/.
                                                                      MEMO. ISO DEFENDANTS’
                                                 12               MOTION TO STAY PENDING IPR
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  1   contentions. Indeed, Google’s IPR petitions were filed just four months after
  2   SpeakWare filed suit. And Defendants moved promptly to seek a stay of the
  3   litigation. Google filed its initial motion to stay less than two months after filing its
  4   IPR petitions, and Defendants met and conferred with SpeakWare and filed this
  5   renewed motion for stay just three and ten days, respectively, after the PTAB issued
  6   its Institution Decisions.
  7         Rather than causing prejudice, a stay will allow the Court and the Parties to
  8   benefit from the PTAB’s expertise and the IPR process—“a more efficient and
  9   streamlined patent system that will improve patent quality and limit unnecessary
 10   and counterproductive litigation costs.” 77 Fed. Reg. 48,680-01.
 11   V.    CONCLUSION
 12         All three factors weigh strongly in favor of staying this consolidated case:
 13   (1) the case is still in the early stages; (2) the stay will eliminate or streamline issues
 14   for trial regardless of the PTAB’s decisions; and (3) the stay will not cause undue
 15   prejudice to SpeakWare. The Court should, therefore, grant Defendants’ motion
 16   and stay this case pending final resolution of all pending IPRs.
 17
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                                          15            MOTION TO STAY PENDING IPR
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  1                                 ECF ATTESTATION
  2         I, Luann Simmons, am the ECF User whose ID and password are being used
  3   to file MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
  4   OF DEFENDANTS’ RENEWED MOTION TO STAY PENDING INTER
  5   PARTES REVIEW. In accordance with Local Rule 5-4.3.4, concurrence in and
  6   authorization of the filing of this document has been obtained from all of the
  7   signatories listed above.
  8
       Dated: May 24, 2019                    O’MELVENY & MYERS LLP
  9
 10
                                              By:   /s/ Luann L. Simmons
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 12                                                 Attorneys for Defendant
                                                    GOOGLE LLC
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                                                                   MEMO. ISO DEFENDANTS’
                                               16              MOTION TO STAY PENDING IPR
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